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                          UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                  No. 2:12-md-02323-AB
IN RE: NATIONAL FOOTBALL
LEAGUE PLAYERS’ CONCUSSION                        MDL No. 2323
INJURY LITIGATION
                                                  Hon. Anita B. Brody

Kevin Turner and Shawn Wooden,
on behalf of themselves and
others similarly situated,
          Plaintiffs,

               v.

National Football League and
NFL Properties LLC,
successor-in-interest to
NFL Properties, Inc.,
          Defendants.


THIS DOCUMENT RELATES TO:
ALL ACTIONS



                        CO-LEAD CLASS COUNSEL’S:
          (1) MOTION TO COMPEL CORRECTIVE DISCLOSURES BY
 PHILLIP TIMOTHY HOWARD, ESQUIRE (A/K/A DR. TIM HOWARD, J.D., PH.D.)
                     AND HOWARD & ASSOCIATES, P.A.;
 (2) MOTION TO COMPEL MR. HOWARD, HOWARD & ASSOCIATES, P.A.; AND
     CAMBRIDGE CAPITAL GROUP, LLC, GAIL MILON, MR. HOWARD, AND
      JEFF KAHN TO RESPOND TO RESPECTIVE DISCOVERY REQUESTS
                       PROPOUNDED UPON THEM; AND
            (3) NOTICE TO THE COURT OF CERTAIN CONDUCT BY
                  MR. HOWARD AND HIS RELATED ENTITIES

       Co-Lead Class Counsel submit this Motion seeking an Order compelling Phillip Timothy

Howard, Esquire (a/k/a Dr. Tim Howard, J.D., Ph.D.), and Howard & Associates, P.A. to make

corrective disclosures regarding the BAP Providers in the Settlement Program and an Order
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compelling Mr. Howard, Howard & Associates, P.A. and Cambridge Capital Group, LLC, Gail

Milon, Mr. Howard and Jeff Kahn to respond to the respective discovery requests propounded

upon them by Co-Lead Class Counsel, on August 10, 2017, consistent with the Notice & Order

issued by this Court on July 19, 2017. Pursuant to the MDL statute, 28 U.S.C. § 1407, Fed. R.

Civ. P. 23(d) and the All Writs Act, 28 U.S.C. § 1651, and for the reasons stated in the

accompanying Memorandum of Law, the Motion should be granted and the respondents should

be ordered to provide full and complete responses to the discovery requests within five (5) days.

Finally, Co-Lead Class Counsel seek to provide the Court with Notice of certain conduct by Mr.

Howard and his related entities, so that the Court is fully informed and may take whatever action

the Court deems appropriate, based upon a complete record.



Dated: September 12, 2017                           Respectfully submitted,


                                                    /s/ Christopher A. Seeger
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                                                    Co-Lead Class Counsel



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                                CERTIFICATE OF SERVICE

       It is hereby certified that a true and correct copy of the foregoing motion, along with the

supporting documents, was served electronically via the Court’s electronic filing system on the

date below upon all counsel of record in this matter. Because neither Mr. Howard nor counsel for

the Cambridge Respondents, Mr. Black, has entered his appearance in this action, they are being

served via email and Federal Express Overnight Mail at the below addresses:



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Dated: September 12, 2017




                                              /s/ Christopher A. Seeger
                                              Christopher A. Seeger




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